
20 Mich. App. 294 (1969)
174 N.W.2d 81
PEOPLE
v.
HUGHES
Docket No. 6,535.
Michigan Court of Appeals.
Decided November 26, 1969.
John R. Brennan, for defendant.
Before: J.H. GILLIS, P.J., and McGREGOR and V.J. BRENNAN, JJ.
PER CURIAM.
Defendant was convicted by the court of committing indecent liberties with a child (MCLA § 750.336, Stat Ann 1954 Rev § 28.568). The sole issue raised by defendant on appeal is whether the prosecution proved its case beyond a reasonable doubt.
Examination of the record discloses that there was sufficient proof presented by the people to establish *295 the guilt of the defendant. While defendant's testimony contradicted that of the complainant, the trial court as the trier of fact had an opportunity to examine the demeanor of the witnesses as they testified and could properly consider their interest or lack of interest in the outcome of the case in evaluating their testimony. The underlying issue is credibility, which is an issue confided for resolution to the trier of fact and not to us. See People v. Szymanski (1948), 321 Mich 248, 253; People v. Doris White (1965), 2 Mich App 104, 106; People v. Ritzema (1966), 3 Mich App 637; and People v. Wheeler (1967), 7 Mich App 576.
Affirmed.
